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1 ||STATE OF NEW YORK: COUNTY OF CAYUGA

2 ||AUBURN CITY COURT

 

 

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4 || PEOPLE,

5 PRELIMINARY HEARING

6 v. File No. 16-0258

7

; JKENDRIC AGEE,
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10

157 Genesee Street,

il Auburn, NY 13021

March 15, 2016

12 ||Before:

13 HONORABLE MICHAEL MCKEON,
‘ Justice
15 Brian T. Leeds; Esq.,

 

Assistant District Attorney

 

 

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' Timothy J. Brennan, Esq.,
1 Attorney for Jkendric Agee
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32 Baker Transcription Service
oP 321 Troy Road
Ithaca, New York 1+850

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THE COURT: Good afternoon, sir.

MR. AGEE: Good afternoon, sir. How are you
doing?

THE COURT: Alright, Mr. Agee, you’re here

with your attorney, Mr. Brennan. You have a pending

charge of promoting prison contraband in the second
degree, or possession of dangerous contraband in the
first degree, excuse me, which is a class D felony.
This case is on for a preliminary hearing for this
afternca. Are we.. Is there any resolution of this

Case? Are we proceeding to a, the preliminary hearing,

counselors?

MR. AGEE: Yes.

THE COURT: Mr. Leeds? Alright, sir. Mr.
Leeds, you’re prepared to go forward?

THE PEOPLE: We are, Judge.

THE COURT: And...

ATTY. BRENNAN: Yes, Your Honor, my client
beat me to it, but yes, we are already prepared to go
forward.

THE COURT: Okay.

ATTY. BRENNAN: There was an offer by the
District Attorney’s office. I believe it was reduction

down to the E felony of attempted prison contraband.

THE COURT: Okay.

 
 

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ATTY. BRENNAN: A sentence of one and third to

four.
THE PEOPLE: One and half to three.

ATTY. BRENNAN: Or one and half to three, Your

Honor, and my client is indicating that he wants to

reject that.
THE COURT: Is that correct, Mr. Agee?
MR. AGEE: Yes, sir.
THE COURT: Okay. Before I, we go forward

with the prelims, I want to make sure that you're aware

of all the negative consequences that could come from

not waiving your preliminary hearing. From what heard

by counsel, if you did elect to waive your right to a
preliminary hearing, they would reduce it to a class E
felony and your sentence would be a maximum of 2 to 4.

ATTY. BRENNAN: Three and a half to seven, 1
believe.

THE COURT: I'm Sorry, E felony 3-1/2 to 7, E
felony 2 to 4, correct? D felony?

THE PEOPLE: Yes, Judge.

ATTY. BRENNAN: Yes.

THE COURT: So 1-1/2 to, you said 1-1/2 to 3?

THE PEOPLE: One and a half to three, yeah.

THE COURT: So 1-1/2 to 3 VS. possibly 3-1/2

to 7 is the maximum exposure if you go to trial and are

 
 

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convicted of the prison contraband first. So there is a

difference of a 1-1/2 to 3 vs. 3-1/2 to 7. So TI just

want to make sure that before you make that final

decision and Mr. Leeds calls his first witness, which at

that point in time the offer would be withdrawn, and

then you're left to either try, you'll be left to

pleading to the, the possession first charge in County

Court or seeking a, going forward with indictment and a

jury trial if in fact you would be indicted. So, those

are the parameters here, Mr. Agee. I just want to make

sure that you understood all of that and that you are .
proceeding, you wish to proceed with your felony hearing
understanding the possible negative cohsequences that
could impact you in terms of a future sentence. So do
you understand all of that?

MR. AGEE: Yes, sir.

THE COURT: Alright, so you understand you
could get 3-1/2 to 7 if you plea, if you are found ©
guilty after trial? )

MR. AGEE: Yes, sir.

THE COURT: Well keep in mind this hearing is
only to daterdne whether there is Probable cause or
reasonable cause as the Statute indicates that you

committed a felony offense. That's the burden at a

preliminary hearing. I want to make sure you understand

 
 

 

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that as well. It’s not proof beyond a reasonable doubt.
That a preliminary hearing is essentially more probable
than not that you committed a felony, to widely
different burdens of Proof. So want to make sure you
understand that as well. Do you understand that?

MR. AGEE: Yes, sir.

THE COURT: Alright, having said all that, you
are electing to proceed forward with your Preliminary
hearing, is that correct?

MR. AGEE: Yes, sir.

THE COURT: Okay. Okay, then let’s proceed.

Have a seat Over there, gentlemen and we’1] Start the

preliminary hearing.

[BREAK]

THE COURT: sr, Brennan?

ATTY. BRENNAN: vie, Your Honor.

THE COURT: Is he prepared to go forward?

MR. AGEE: Yes, sir.

THE COURT: Okay.

ATTY. BRENNAN: Yep, he’s prepared to go,
Judge.

THE COURT: Alright, and are you withdrawing
your proposed disposition, counselor?

THE PEOPLE: Yes, correct at this time, Judge,

yes.

 
 

 

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THE COURT: Okay. The offer to plea to an E
felony is hereby withdrawn. Alright, this is
preliminary hearing on one charge on promoting dangerous
contraband in the first degree in violation of penal law
section 205.25 of the penal law of the state of New York

of the.. Do, do Mr. Brennan, do you waive the reading of

7 the entire charging documents?

8 ATTY. BRENNAN: Yes, Your Honor.

3 THE COURT: Reading is waived. Call your

i0 first witness, counselor?

11 THE PEOPLE: People call Corrections Officer
12 Keith Vincent.

13 THE COURT: Mr. Vincent? Will... Oh you’re
14 right here. Oh okay. Have a seat.

15

1@KEITH VINCEN T, having been called as a witness,

i7 ||having been duly sworn, testified as follows:

18
19 THE COURT: Have a seat. Okay. ave sure

20 that, that everyone can hear you. So push the towards
2i him, put that towards a little bit there mic, two mics.
22 OFFICER VINCENT: Okay.

23 THE COURT: Mic. Okay. Your witness, Mr.

24 Leeds.

25 THE PEOPLE: Thank you, Judge.

 

 

 
 

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DIRECT-EXAMINATION BY THE PEOPLE:

Good afternoon. Can you state your name please?
Keith Vincent.
And where do you work?

Auburn Correctional Facility.
What kind work do you do for Auburn Correctional

I’m a third officer in dog block, in D block.

You're a correction officer?

Yes, sir,

And how long have you been a corrections officer?

Almost 12 years, sir.

Specifically, how long have you been at the Auburn

Correctional Pacility?

I got there in 2005, August 2005, I think.

Okay, what kind of Prison is Auburn Correctional

Tt is a maximum security prison.
Okay and that’s a detention facility?

No, it’s Max security.

The prison itself it’s a detention facility?
Yes, sir.

Okay. What kind of responsibilities do you have

Speaking as a corrections officer at Auburn?

 

 
 

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A Primarily, security magnet, keep fellow officers,

civilian staff, as well as other inmates in a safe manner, so

they can carry out their time.

QO Do you have a specific section of the prison you're

assigned to with specific responsibilities?

A Yes, sir. I work in dog block, which is one
particular block there.
Q Dog block meaning D Block?

D Block, yes, sir.

A

Q Okay and that’s a residential area of the prison?

A Yes.

Q Okay. I want to take you back now to February 28‘,

2016. Do you recall if you were working that day?

A I was working, sir.

Q And during your, your shift while you were on duty,

did you have a, an incident with an inmate named, JKendric

Agee?
A I did, gir.

Q Okay. First off, did you see mr. Agee in the

courtroom today?

A Yes, he’s sitting over there.
Q Can you just maybe describe what he’s wearing?
A He has on his orange jump suit.

Q Okay. At the time February 28", 2016 was Mr. Agee

an inmate at Auburn correctional Facility?

 

 
 

 

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A Yes, he was.

Q Okay. Tell us a little bit about the incident

itself. I guess start from the very beginning. What, just
prior to the incident with Mr. Agee, what are you doing?

A At that time we were running (inaudible) recreation
out to the recreation yard. What we do is there’s a four man
team, two men go down to the cell. We open up the cell. The

inmates steps out of the cell. They pat frisk them. As long

as he is in compliance, at that point in time, he walks off

the end of the company to the front. At that point is where

we wand the inmates with a handheld metal detector. If the

inmate is to clear that metal detector, then he will proceed

to the yard, the recreational key pen, the yard. If they do

not we will further igvest idate to figure out why the metal
detector would, would be sounding. In that particular day,
he came off. We were, I was hand wanding him. The wand kept
going off in the front $i Ghe Waistband area. At that time, I
further examined it which he, there was a, appears to be what
was a state issued altered razor blade with a black tape
handle on it.

Qo I want to back up a little bit now. So, that is
the, do you remember what time this was roughly?

A It was probably... We start running at nine o'clock
in the morning reughly. So, it was probably somewhere, 9:15,

9:20, It’s stated on the actual incident report

 

 

 
 

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approximately what time it was. I would say it was somewhere

right around that neighborhood of time.

Q Okay and you're in the D block area running inmates

out to you said, the key block recreation?

A Yes, sir.
Q Explain a little bit about I guess what's key block
and how it is differentiated between other inmates?

A An inmates place on key block status is that he has
priorly broken some rule. We don’t know necessarily what
they are and through the prison system, they have a system to
where they can key block an inmate, which means that he
doesn't oe to normal program. He eats in the cell, he stays
in his cell, he gets taken out to one hour of rec for the
day. So, it’s kind of a, a baseline of a little bit Of ee
don’t want to say a punishment, but something they do so that
he actually does his time separately from whatever infraction
that he had prior.

Q When inmates under key blocks supervision are being
allowed to use the recreation time, are they escorted as a
group or individually?

A Individually. |

Q Okay and you.. I think you touched on this, but as
you're escorting inmates in the key block program, key block

supervision and out to recreation, describe a little bit

about the, I guess the security procedures that you do once

 

 

 
 

 

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you're removing the inmate from the cell. I mean, what

happens when they're taken from the cell to the yard

traditionally?
A Again, they’re initially frisked, they come off.
The officers, the two officers that are (inaudible) will

actually just go to the mext cell. The inmate will walk off

to where there’s anywhere between two and three other

officers. That’s where the, the, we wand them with the metal

detector. At that time from there, they'll walk down the
Stairs. Check in at the first officer's desk letting them
know which cell that they, they’re out of then, they proceed
out to the recreational pens at that point in time. after
everybody from their blocks are out there, the pens are
secured and then, there’s a couple officer’s that oversee the
recreation while that’s going on.

Q Okay. When the inmates are, I guess, wanded, are
they done like, one at a time?

A Yes.

Q Or do they wait in line?

A No. They, we.. We never have the inmates while
we're moving them out in a group per Say. They come out one
at atime. They wanded one at a time and then they proceed

out and the next inmate comes out and that Same procedure.

OQ And where exactly in the, the prison itself or d

block itself do you do the wanding?

 

 

 
 

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A The wanding is done on the front of the company .

How do we.. They have each layer, each floor as you go up you

have sides and so like, one side would be two company. That

would go down the opposite side in dog block it’s called

Seven company. In the front of that area is where we have

the controls to each of the cells and there's a landing

that's approximately 10 or 12 feet deep as wide as the block

is and in that area there is where we actually would do the

wanding.
o When you were doing the wanding of Mr. Agee, were

there any other inmates in that area at the time?

A. Nope.

0 Okay. You're saying no? I didn’t... You're shaking
your head, but no? |

A No. No.

Q Okay. Now, the wanding itself, that’s a handheld

métal detector?
A Yes, that’s correct.

Q What area of Mr. Agee’s person did that metal

detector go off?
A It was going off in his mid-section up around the

right front, front side.
Q Okay and after you get the alert from the wand,

what, what do you do with mr. Agee? I mean, how do you

conduct your next level of search?

 

 
 

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A At that pail in time I just pretty much, you know,
just, you know, remain there. Felt along his waistband
there. Felt something, pulled the waist band down and the
razor blade was actually right there.

O Okay. The, the item that you found, the razor
blade, was it just a regular razor blade, was it modified in
any way Or wrapped in anyway?

A Yeah, it was.. Again, it looked, appeared to be the

blade out of a state issued razor that was wrapped with black

electrical tape and it had a, a sheath to go over the actual,

the actual blade.

Q Okay and that was found right in his waistband or
around his waistband?

A Yes. Right along his waistband, yeah.

Q Okay. Now, are you familiar with the rules
[concerning contraband inside the pelaoae

A As far as promotion of contraband and everything of

that nature or?

Q What items that would be considered contraband,
items that wouldn’t be considered contraband?

A Por, for the most part absolutely.

0 The item that you found off of Mr. Agee, would that
be considered contraband?

A Yes, sir.

 

 
 

 

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Q Would there be any circumstance where that item

would be allowed in the possession of Mr. Agee?

A Not in, in the form of which it was in. Again, if

it was in the state razor and it was issued that way. It was

an altered item to be used in a purpose other than its

intent.
Q Okay. If, if it was in the, the regular razor

form, would he be allowed to remove it from his cell in his

waistband?
A No. No.
Q Okay. Have you seen items like the one you took
off Mr. Agee in the prison before?
A Absolutely.
Qo And what did the inmates use those items for?

A They usually like to slash each other primarily in

the facial area.

Q Have you seen injuries like that?

A Absolutely.
Q And when you say slashes, I mean, can you describe
some of the injuries you’ve seen with items like that?

A Well, I’ve seen guys with their ears dangling off.

Their whole entire side of their mouths open, cuts all the

 

 

way across their nose, nose peeled down, several cuts, heads,

faces. I mean, I’ve seen guys with their necks sliced open,

quite a bit over, over my career.

 

 
 

 

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Q Would the item be found off of Mr. Agee be
considered a weapon inside the prison?

A Yes.

Q And in your experience, your opinion, would that be

a dangerous contraband item to have in the prison?

A Yes, absolutely.

Q Okay. Once the, the item is removed from Mr. Agee,

I guess, what’s the next thing that you do?

A We actually took and secured him with handcuffs,

mechanical restraints. I notified the area supervisor at

which time he made arrangements and he was escorted to SHD
which is the maximum SHOE, Special Housing Unit. He was
escorted up there and after that, those guys processing in
and, and that’s as far as I have to do with that.

Q What happens to the razor?

A The razor is actually, goes into the evidence
locker. We measure it. We take pictures of it, secure it.

It goes into an evidence locker.

Q Nothing further from me.

THE COURT: Thank you, Mr. Brennan, cross

examination?
ATTY. BRENNAN: Thank you, Your Honor.

 

 

 
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CROSS-EXAMINATION BY ATTY. BRENNAN:

Q Let’s back up a bit. When you initially pull an

inmate out of their cell, the person initially leaves their
cell, explain-to me what happens at that point to the inmate?

As far as during key block recreation?

Yeah. Yeah.

Yeah where my client would’ve been out.

A
Q
A During that time?
Q
A Oh excuse me.
Q The initial part of my client was pulled out of his
cell, explain to me what would happen to him at Chat point?

A There's two officers down there. He's made to face
one officer that.. Well, prior to that they actually go down...

If he’s taken to jacket out and his shoes, he places them on

the bars. They search that. If everything is good at that

point in time, we open up the cell. When he comes out of his

cell, the officers at that point in time will actually

conduct a pat frisk. -

Qo Okay.

A As long as everything goes from there, then he
proceeds to the next.

Q So, you’re testifying that there would’ ve been two

officers at the time that my client leaves his cell?

A Correct,

 

 

 
 

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And what are those names of the officers that were

Q

on...
A I honestly do not recall who was doing that search.
Q Okay, but you are sure that there would've been two

officers at that time that would’ve done this...

A Absolutely.
Q This frisk?

A Absolutely.

Q Okay. So, when my client leaves his cell, is he

facing out towards, right towards an officer when he’s being

frisked?
A That's correct.

Q Is he looking the officer right in the face

basically?
A Yep.
Q Okay and another officer is doing a pat frisk?

 

 

A That officer does not do the pat frisk. That
officer actually observes him. That sicer that is behind
him, does the pat frisk.

Q Okay. So, the officer standing behind my client
would be patting him down?

A That is correct.
Q And describe to the Court what a pat frisk actually

 

 

 
 

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- A A pat frisk, everybody has their own kind of method

2 |}of doing it, but normally you start in the arms area as you
3 search the arms running your hands over the nhGeedet run
4 |lyour hands down the chest area around the back, the sides,
5 |}waist line, go down the legs and you know, one leg at a time

6 |land that’s it.

7 Q And during a pat frisk, does an officer actually

8 ||apply pressure to a person to, to form their hands around the
? || body itself?

10 A No.
il Q So, he would just, a simple just kind of rubbed the

 

12 |iguy and down and doesn’ t...
13 A Pretty much. Yes, sir.

14 Q Okay. So, you have two officers, my client’s

 

is facing one of them and you have another officer behind him
16 ||doing the pat frisk as you've just described and you're

17 ||indicating that at that time they would not have found this,
i@ |jthis razor blade apparently, allegedly that he had?

aan) ok Yeah.
20 Q Okay. Is that possible if they were doing a pat

21 ||frisk the correct way?

22 A It’s very possible.
23 Q They...
24 A It’s very possible.
25 Qo Okay.

 

 

 

 
 

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A We're not perfect people.

Q Okay and where do you.. As far as his waistband,
explain to be what a prison Sietband would be? I mean, is
it.. Are there pockets in the waistband or is just a, is it
enclosed?

A No, it’s in. There's is dieravene types of

waistbands. You have elastic waistbands, as well as just

your traditional pant waistband.
Q Okay. Did my client have an elastic waistband on
at that time?
A Yes, I believe he did have that.

Q Okay. You indicated that as far as where in the
waistband was it? Was it.. I guess on his body could you

describe where the waist band?

A It was more, almost center on his body, but a
little bit to the right hand- side.

Q Okay .
A Right in the front of the waistband.

Q Okay. Was it more tucked into the waistband? Was

it inside? Is it a drawstring waistband I guess is what I’m

getting at?
A No, not a drawstring.
Q Okay. So, would there have been a hole in the, in

the pants themselves?

 

 

 

 
 

 

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A There was not to the best of my knowledge, there

Was not one in his.
Q Okay. So, there was no holes is what you're
testifying. There was no hole in the actually pants?

A To the best of my knowledge. I did not take his

pants off.
0 Okay.
A And go through them in that type of manner.
Q
A

Was, was his pants taken into evidence?
Not that I’m aware of.

Q Okay. Okay. When he, when an individual leaves

his cell passing, passed where we just talked about as far as

the frisk. What happens after that? They do a wand is what

you testified to?

A Yes, that is correct.

Q Okay and the wand is essentially, it’s a metal
detector, correct?

A Correct.

Q Okay. Now, you're alleging that this, my client
had a razor blade that was wrapped in what, what type of

wrapping was it?

A It was what would appear to be black, electrical

tape.

 

 
 

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Q Black electrical tape and does black electrical
tape do anything to a magnetic device as far as a, as far as

a wand would be concerned?

A Honestly, I couldn’t answer that question yes or

no, because I do not know.

You are the one who did the wanding though, you’re

Q
testifying, correct?
A Yes, that is correct.
Q Okay. Do you have training on how to use a wand?
A Yes.

Q Do they go through the specifications of what a
wand can detect and what a wand can’t detect?

A No. No.

° Okay. So, you've never had any training as far as
if a razorblade has been disguised or not, if, if that would

actually be detectable by a wand?

A I would say no.
Q Okay.
A I know there’s certain razorblades that do detect

it, certain razorblades that don’t.

Q And how long have you been working on that block

itself or does it change?
A You know I’ve had been in there probably, to the
best of my knowledge, I’ve been in there since September

timeframe, prior to that I had two other (inaudible) in that

 

 

 
 

 

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21

1 |;/block totally. I’ve worked in that block consistently for

2 ||probably about five years.

3 Q Okay and part of your duties, are they consistently

4 |/that you're the person doing the wanding?

= A No.

6 Q Okay. Is that just something that alternates

7 || between corrections officers?

8 A Correct.

oe Q Okay. How many people have you wanded in the past...

10 |/Well, this would’ve.. You’re allegations, this happened
11 |jaround February 28™, correct?
ig A Yep, that’s correct.

13 Q In that period of time, how many weapons did you

i4 |/find on inmates?
St A As far as that day?

16 Q No, in that week. Did you find weapons on any

17 ||other inmates that week?

 

is A I do not believe so.

19 9 So your statement.. Let me ask you, did you

20 |jactually write a, a memorandum itself that was sent up the
2i)/chain, I guess, to Sergeant... |
22 A There was a, a two from that I turned in to my
“3 ||/Sergeant, as well as the, the misbehavior report.

24 Q Okay. That sergeant, there’s a sergeant.. Forgive

ae) me. Is it Sergeant Valfleck [sp]?

 

 

 

 
 

 

 

 

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1 A Vanfleet [sp].

2 Q Vanfleet [sp]. Okay. In that report, did you

3 |;indicate that you found this, this alleged razor that you

4 ||found in his waistband after a wanding?

5 A Yes.

6 Q Okay. Do you remember what you wrote in that

7 ||report?

8 A Briefly, but not verbatim, absolutely not.

8 Q Did you ever talk to a state trooper in regards to
10 |ithis incident?

ii A In regards to this incident?

12 QO Yes.

13 A No.

14 Q No. Okay. So, at one point this state trooper..

15 ||/How does it work? When somebody gets arrested from the

16 || prison?

17 A I have no idea, sir.

18 Q Okay. So, you don’t actually have any contact as

19 ||far as when you write your memorandum, it just goes up the

20 ||chain of command?

21 A That is correct.

22 Q Okay and have you ever had a chance to review the
23 complaint that was filed by State Trooper Stover [sp]?

24 A No, sir.

#5 Q No. Okay.

 

 

 

 
 

 

 

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Case 9:
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1 ATTY. BRENNAN: Give me one second, Your
= Honor.
3 THE COURT: Sure.
4
5 . Specifically, could you just, just rephrase. We

6 ||/had asked where specifically you had found the tazorblade.
7 ||Could you state for the record one more time exactly where

8 |/you found this razorblade, alleged razorblade on him?

It was in the front right area of his waistband.

9 A

10 Q Okay. Thank you.

11

12 ATTY. BRENNAN: Just one second, Your Honor.
13 THE COURT: Take your time, counselor.

ié ATTY. BRENNAN: Thank you.

15

16 Q What cell, what cell does my client, was my client

17 ||}occupying at that time?

is A I couldn’t tell you exactly, but...

i9 Q Okay. How many cells would’ve been on the tier?

20 |lTs it a tier I’m cating about? Sorry. How many cells would

21 |/be on that block or tier if I'm using the right term?

22 A 48.

23 Q 48. Okay.

24 A I believe he was in 28, but I’m not a 100% sure.
25 Q Okay.

 

 

 

 

 
 

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ATTY. BRENNAN: If I could just show him the

Statement that he had...

THE COURT: Sure.
ATTY. BRENNAN: He had actually submitted...

THE COURT: Go right ahead, counselor. Mark

it down. Mark it as Defendant’s one. Alright.

Defendant’s A rather.
ATTY. BRENNAN: Really, Your Honor, the

purpose is just to refresh memories.

THE COURT: Okay. I always like to mark

anyhow.
ATTY. BRENNAN: Yes, sir.
THE COURT: Exhibit A. Okay.

Q And just specifically in those memorandums, do you
normally note exactly, the exact location of where the

individual would be housed?

A In this specific one?
Q Yeah.
A It’s not necessary.

Q Okay. So, procedurally, it essentially does.. It’s
not part of your procedure?
A Absolutely not.

Q You don’t normally put in there?

 

 

 
 

 

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i A No.

2 Q Okay. Is the, is his housing unit located in that

3 |}document?
4 A It is.

It is. What’s the document say is...

Q
6 A This is D block.
Q

Okay. Does it specifically say cell or is it just

§ iithe d block location?

3 A It just says d block,

10 Q Okay. Thank you.

11

12 ATTY. BRENNAN: That’s all I had for the

13 document, Judge.

i4 THE COURT: Okay. Any other questions, Mr.
15 Brennan? |

16

47 Q Where would the razor be, the razor in question,

18 ||where would it be located at this time?

is A It would be at Auburn Correctional Facility in the

20 |/evidence locker.
21 Q Okay and again, that’s not normally.. That I guess
22 |lgoes beyond what you would normally do as far as where the

23 ||evidence is housed. So, you wouldn’t know if it gets

24 || transferred anywhere else?

25 A We have an evidence drop box.

 

 

 

 

 
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Q Okay.

A I do my paperwork on it. At that time, I turn it

over and place it into the evidence lock box. From that, I

do not know.
QO Okay, and you did testify that his pants at that

time were not taken as far as you know?

A Yes, as far as I know.

Q Okay. Would the pants be taken in the same ‘way
though if they were at some point taken, dropped in a drop
box or would they just be handed over?

A They would be, but I don’t see why they would of

even had taken the pants.

Q Okay. So, you had no contact as far as.. Were you
interviewed by anybody else regarding this, this incident
after your memorandum was submitted?

A No.

 

 

 

 

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ov Okay. 50, you never spoke €6 a supervisor about

this? It was just you fill out the memorandum and pass it

 

up?

A Yes, that is correct.

Q Okay and just, just to establish and clarify.
There would’ve been two guards at the time of the frisk and
then you at the wand?

A It was me and another officer.

 

 

 

 
 

 

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ai
1 Q Okay. So, two at the time when he leaves the cell
and then two when he goes down the tier toward the wanding?

3 A That is correct.

4 Q Okay. How does your statement, the memorandum I

5 |}had just showed you, how would that make it to the police

6 || report?
7 A I have no idea.
8 Q Or to the.. You don’t know how it would make it

9 j/into a felony complaint?

10 A Actually no.

il Q Okay.

12

13 ATTY. BRENNAN: As I am looking at the felony
i4 complaint and this was submitted by the District

15 || Attorney’s office, Your Honor, and I’m wondering why the
16 statement on the felony complaint is the different than
17 the statement that’s, that’s contained within memorandum
18 to his supervisor, Judge. |

19

20 Q Do you have any explanation for why that would

21 || occur?

22 A Again, as far as any of that, that has nothing to

#3 ||do with myself. That is above my pay grade.
24

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Qo Would it surprise you that the felony complaint
mentions that this weapon was found during a pat frisk in
front of the cell?

A Would it surprise me? I guess I would say yes,

because that’s not where it was found. If it was it would've

been in my statement.

QO And that this felony complaint also mentions the
defendants exact cell number that appears D-7-27?

A It's a possibility.

Q Would that be the correct way of labeling the cell

number?
A Yep.
Qo Okay.
A Yep.
Q And that, as you testified earlier, was not

contained within your statement, correct?

A Not on that to/from. It should be on the

misbehavior report.

0 Okay and you didn’t, you didn’t submit the
misbehavior report anywhere else. That would've been

submitted by someone else?

 

A That's why it goes.. Yes, I submit that to the

watch commander. That's it.

 

 

 
 

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Q Okay, but you wouldn’t have had any direct contact

with the watch commander after that takes it from there

essentially?
A That's correct.
0 Okay.

ATTY. BRENNAN: No further questions at this
time, Your Honor.

THE COURT: You have redirect, Mr. Leeds?

THE PEOPLE: No redirect.

THE COURT: Now, you filed a misbehavior
report also?

OFFICER VINCENT: Yes, that is correct, sir.

THE COURT: And, those are the only two
documents that you produced?

OFFICER VINCENT: Yes, sir.

THE COURT: And you don’t remember what other
officer was working with you at the time of this search
or frisk?

OFFICER VINCENT: I don’t, sir.

THE COURT: Do you know if he’s still working
in the same block as you?

OFFICER VINCENT: The problem, the problem of
that is sir, is the individuals, the team is of

different people from different blocks come inte one

 

 
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block to do that. We do this every single day. The
problem of it is, is every day we don’t have the exact
Same people doing the exact same jobs. So, I can’t sit
here for certain and tell you exactly what officers were
working that day. I’m sure that there is a record of

which officers had those jobs that day, but I'm not

gonna...
THE COURT: One would think.

OFFICER VINCENT: One, one think. I’m not

gonna say I believe it was this person if I’m not 100%

sure.
THE COURT: Okay. Okay. Thank you. You may
step down.
OFFICER VINCENT: Thank you, sir.
THE COURT: Any other witnesses, Mr. Leeds?
THE PEOPLE: No, Judge, People rest at this
time.

THE COURT: Sir, Brennan, anything you'd like
to submit or oppose at this base, have anybody testify?

ATTY. BRENNAN: Well, Your honor, my client is
asking, because we do have this statement here from that

felony complaint filed by the state trooper and

essentially I’m wondering the same thing, why our state

trooper is not testifying today, Judge, and my client

 
 

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would like-him called as a witness as well. We do have
two conflicting statements at this time, Your Honor.

THE COURT: And as I see it, the, tHe issue as
to whether it was in front of the cell or someplace else
may be different, but the, you know, the place of where
it was found is irrelevant on a charge of promoting, or
felony possessing dangerous contraband (inaudible). I
mean, the issue is did he possess it and there appears
to be no discrepancy as to the fact that the, that a 27
long X 1/2" wide razorblade with the tape and with-
sheath is certainly consistent with the memorandum
submitted with Officer Vincent. So, I don’t see how
it’s relevant. So, your application had the trooper
testifies denied.

ATTY. BRENNAN: Your Honor, my client also had
one more witness that he would like Called. No, Your
Honor, we'll all set.

THE COURT: Okay. Okay. Proof is closed.
Proof is closed. Okay.

[SIDE-TALK]

THE COURT: I don't know what he’s doing. Is
he talking to his lawyer? You can’t talk to me, Mr.
Agee. Anything further, Mr. Brennan?

ATTY. BRENNAN: No, Your Honor.

THE COURT: Any arguments, Mr. Brennan?

 

 
 

 

 

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Case q
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1 ATTY. BRENNAN: Yes, Your Honor, at this time
2 I believe People have not met their burden, Judge. As I
3 said before, we do have conflicting statements at this
4 time, Your Honor, and I don’t believe what’s been

5 presented meets the burden to sustain this charge

6 and keep my client incarcerated.

7 THE COURT: Thank you. Mr. Leeds?

& THE PEOPLE: Judge, this is a preliminary

9 hearing. So, we just have to provide enough reasonable
10 basis for the Court to make a decision whether or not a
il felony offense has been committed. I do acknowledge

12 that there’s probably some discrepancy between what the
13 complaint says and what the officer testified to.

14 However, the complaint, at this stage of the game, is
i5 just a piece of paper. It’s just a charge of the

16 document and it’s not constituting the proof that we're
17 going forward in this case, which is the testimony and
i8 the Officer Vincent. Based on that testimony, Judge, if
19 you'd look at the elements of promoting contraband in
20 the first degree, I think weve established that mr.

21 Agee was an inmate in prison. Mr. Agee was ina
22 detention facility Auburn Prison being one and Mr. Agee
23 was in possession of what would be considered dangerous
24 contraband, in this case, a razor that was fashioned
25 into a weapon housed in a sheath that was found inside

 

 

 

 
 

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of his waistband. So, I believe, Judge, for the purpose
of probable cause at this stage, we have established
that there is enough to go forward beyond the
preliminary hearing.

THE COURT: Okay. Thank you. Alright. Well,
after reviewing the testimony, though it certainly
would’ ve been preferable that there was the picture of
the actually knife produced based on this testimony of
the correction officer, his description of it is
sufficient for the Court to make a finding that People
have met their burden of reasonable cause to believe
that Mr. Agee committed a felony in the Auburn
Correctional Facility and on that basis, I find
reasonable cause and hereby transfer this case to the
County Court where all future proceedings will take
Place. He is remanded on the same bail, which is $3,000
cash, $6,000 bond. He is remanded.

ATTY. BRENNAN: And Your Honor, this is just
(inaudible), because I believe Mr. Leeds has handed it
over anyway, but I’d request the Rosario from any
statements given today, given what’ s...

THE COURT: Do you have anything else other

than your correction officer’s?

 

 
 

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THE PEOPLE: No, I gave the full and complete
copy of our file at this stage, Judge. There may be

additional paperwork.
THE COURT: Okay.

THE PEOPLE: But for Rosario purposes, that’s

all that was available.

THE COURT: Okay.

ATTY. BRENNAN: And this...

THE COURT: Well, at some point in time this
Behavior Report should be produced at some point in
time.

ATTY. BRENNAN: Yes, Your Honor.

THE PEOPLE: We turned that over, Judge.

THE COURT: Oh you turned it over already?

THE PEOPLE: Yes, Judge.

ATTY. BRENNAN: Yeah, I see it, Judge.

THE COURT: Okay. Very good.

ATTY. BRENNAN: And obviously it probably
doesn’t apply since they’re corrections officers, but if
there are any criminal records related to these
witnesses, Judge, I would like those as well.

THE COURT: Okay. I’m sure there’s not, but...

Okay. So noted,

 
